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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Fred Bergman Healthcare Pty Ltd, et al.
                                            Plaintiff,
v.                                                        Case No.: 1:22−cv−02167
                                                          Honorable John Robert Blakey
Seneca Sense Technologies Inc.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 4, 2024:


         MINUTE entry before the Honorable M. David Weisman: Settlement conference
held. All parties appeared via video conference. The parties made substantial progress
towards resolution although further refinement is still required, and any agreement must
be appropriately documented. Status hearing set for 6/11/24 at 9:15 a.m. to discuss status
of settlement discussions. Parties to file a brief Joint Status Report by noon on 6/10/24
indicating whether the parties have reached an agreement, seek additional time to resolve
the matter in lieu of a continued settlement conference, and any other issues counsel wish
to raise. The Court thanks counsel for their professionalism in working towards resolution
in this matter. Mailed notice (ao, )




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